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INVESTORS FUNDING CORPORATION

                 IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF HAWAII

ATOOI ALOHA, LLC, an Nevada           )   CIVIL NO. 16-00347 JMS RLP
Limited Liability Company; CRAIG B.   )
STANLEY, as Trustee for THE           )   CERTIFICATE OF SERVICE
EDMON KELLER AND                      )
CLEAVETTE MAE STANLEY                 )   [re: DEFENDANT INVESTORS
FAMILY TRUST; CRAIG B.                )   FUNDING CORPORATION’S
STANLEY, individually; MILLICENT      )   RESPONSE TO PLAINTIFFS
ANDRADE, individually,                )   ATOOI ALOHA, LLC, CRAIG B.
                                      )   STANLEY, AS TRUSTEE FOR
                  Plaintiffs,         )   THE EDMON KELLER AND
                                      )   CLEAVETTE MAE STANLEY
      vs.                             )   FAMILY TRUST, CRAIG B.
                                      )   STANLEY, AND MILLICENT
ABNER GAURINO; AURORA                 )   ANDRADE’S SECOND REQUEST
GAURINO; ABIGAIL GAURINO;             )   FOR PRODUCTION OF
INVESTORS FUNDING                     )   DOCUMENTS, DATED AUGUST
CORPORATION, as Trustee for an        )   30, 2017]
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unrecorded Loan Participation           )
Agreement dated June 30, 2014; APT-     )
320, LLC, a Hawaii Limited Liability    )
Company; CRISTETA C. OWAN, an           )
individual; ROMMEL GUZMAN;              )
FIDELITY NATIONAL TITLE &               )
ESCROW OF HAWAII and DOES 1-            )
100 Inclusive,                          )
                                        )
                   Defendants.          )
                                        )

                         CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that on October 3, 2017, a copy of above-identified

document will be served upon the following parties:

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                   Cleavette Mae Stanley Family Trust;
                   CRAIG B. STANLEY, Individually; and
                   MILLICENT ANDRADE, Individually

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           DATED: Honolulu, Hawaii; October 5, 2017.


                                     /s/ Charles A. Price
                                    CHARLES A. PRICE
                                    Attorney for Defendant
                                    INVESTORS FUNDING
                                    CORPORATION




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